


THE STATE OF SOUTH CAROLINA



THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				Janice
      Manigault, Appellant,
				v.
				Charles Howard
      Manigault, Respondent.
			
		
	


Appeal from Charleston County
Jocelyn B. Cate, Family Court Judge
Unpublished Opinion No. 2008-UP-221
Submitted April 1, 2008  Filed April 11, 2008
AFFIRMED


	
		
			
				Veronica G. Small, of North Charleston, for Appellant.
				Gregory Forman, of Charleston, for Respondent.
			
		
	


PER
  CURIAM:&nbsp; Janice Manigault (Wife)
  appeals the family courts denial of her motion to reconsider reopening her
  divorce action against Charles Howard Manigault (Husband). We affirm.[1]
FACTS
On August 27, 2002,
  Wife brought an action for divorce and equitable distribution from Husband on
  the basis of adultery, after twenty-seven years of marriage.&nbsp; Husband retained
  counsel, and on November 15, 2002, filed an answer and counter-claim,
  requesting an equitable distribution of the marital assets.
At a pretrial
  hearing held August 30, 2005, the parties were instructed to enter into
  mediation prior to trial and trial date was set for January 5, 2006.&nbsp; While
  Husbands counsel attended the pretrial hearing, Husband was not present.&nbsp; On
  December 12, 2005, Husbands counsel filed an ex-parte motion and order to be
  relieved as Husbands counsel.&nbsp; Mediation took place December 29, 2005, seventeen
  days after Husbands counsels motion to be relieved as counsel was granted.&nbsp; Nevertheless,
  the parties reached an agreement during mediation.&nbsp; This agreement was reduced
  to writing by the mediator in a letter, but not signed by either party.&nbsp;
  Husband and Wife anticipated this letter would be published and approved by the
  family court at the final hearing.
Husband failed to
  appear at the final hearing, and did not request a continuance.&nbsp; Wife informed
  the family court an agreement was reached at mediation, but did not inform the
  court the agreement was memorialized in a letter by the mediator.&nbsp; Instead, the
  Wife went forward with the trial in Husbands absence.
Husband was served
  by mail the final order and decree of divorce, and subsequently filed a notice
  of motion and motion pursuant to Rule 59, SCRCP, to vacate the final order and
  decree.&nbsp; A hearing on Husbands motion was held June 12, 2006, and the record
  was left open to receive an affidavit from Husbands original counsel.&nbsp; On July
  28, 2006, the family court granted Husbands motion to vacate and reopen the
  case, stating:

	After
  reviewing the file, the affidavits submitted and hearing argument of counsel,
  this court issues the following order:
	
		
			1.
			This court grants [Husbands] motion to vacate the 
			final order and reopen the case.&nbsp; The court does this because 
			although the court was informed at the January 5, 2006 [sic] final 
			hearing that the parties may have reached a mediated agreement, it 
			was not revealed that there was a December 29, 2005 [sic] letter 
			from the mediator, Kathleen Moraska Ferri memorializing the terms of the Agreement.&nbsp; Had the court
  been informed of this, it would have briefly stayed the proceedings in an
  attempt to locate [Husband] and determine if the mediated agreement was in fact
  the parties agreement.&nbsp; It was further represented to the Court by [Wifes]
  counsel that she in fact hoped that the mediated agreement would be placed on
  the record that day.
&nbsp;
		
		
			2. 
			If the parties are willing to have the mediated 
			agreement become the final order of the court, they may set a 
			hearing to have that agreement approved.
&nbsp;
		
		
			3.
			If either party is unwilling to have the mediated 
			agreement become the final order of the court, this matter shall be 
			set for an expedited pre-trial to set this matter for trial.
		
	

Wife
  filed a motion to reconsider the order to reopen and to allow the final order
  and decree of divorce to remain in full force and effect, alleging there was no
  legal basis for granting a new trial.&nbsp; The family court denied Wifes motion to
  reconsider. 
DISCUSSION
Wife
  contends the family court erred by denying her motion to reconsider its grant
  of Husbands motion to vacate the final order and reopen the case.&nbsp; We
  disagree.
We
  will reverse the family courts granting of a new trial only where the grant
  constituted an abuse of discretion amounting to an error of law.&nbsp; Blejski
    v. Blejski, 325 S.C. 491, 497, 480 S.E.2d 462, 466 (Ct. App. 1997); Howard
      v. Roberson, ___ S.C. ___, 654 S.E.2d 877, 880 (Ct. App. 2007) (The grant
  or denial of new trial motions rests within the discretion of the trial judge
  and his discretion will not be disturbed on appeal unless his findings are
  wholly unsupported by the evidence or the conclusions reached are controlled by
  error of law.) (quoting Chapman v. Upstate RV &amp; Marine, 364 S.C.
  82, 88-89, 610 S.E.2d 852, 856 (Ct. App. 2005) (citing Vinson v. Harley,
  324 S.C. 389, 405, 477 S.E.2d 715, 723 (Ct. App. 1996))); Trivelas v. S.C.
    Dept of Transp., 357 S.C. 545, 553, 593 S.E.2d 504, 508 (Ct. App. 2004); Henson
      v. Intl Paper Co., 358 S.C. 133, 146, 594 S.E.2d 499, 506 (Ct. App. 2004)
  (Anderson, J., concurring in part and dissenting in part) (quoting Stevens
    v. Allen, 336 S.C. 439, 446, 520 S.E.2d 625, 628-629 (Ct. App. 1999)
  (citing Vinson v. Hartley, 324 S.C. 389, 404, 477 S.E.2d 715, 722 (Ct.
  App. 1996))); State v. Taylor, 348 S.C. 152, 159, 558 S.E.2d 917, 920
  (Ct. App. 2001) (It is well settled that the grant or refusal of a new trial
  is within the sound discretion of the trial judge.) (citing State v.
    Simmons, 279 S.C. 165, 166, 303 S.E.2d 857, 858 (1983)).&nbsp; See Kennedy
      v. Griffin, 358 S.C. 122, 127, 595 S.E.2d 248, 250 (Ct. App. 2004) (The
  denial of a motion for a new trial is within the trial judges discretion and
  will not be reversed on appeal absent an abuse of discretion.); Waring v.
    Johnson, 341 S.C. 248, 256, 533 S.E.2d 906, 910 (Ct. App. 2000).
[T]he
  exercise of that discretion must be in accord with sound legal principles and
  practice. . . . [V]erdicts found after regular and legal trial in a competent
  court ought not lightly be disturbed.&nbsp; Harrington v. Nicholson, 182
  S.C. 38, 41, 188 S.E. 372, 373 (1936).&nbsp; An abuse of discretion arises when the
  trial court was controlled by an error of law or when the order is without
  evidentiary support.&nbsp; Hillman v. Pinion, 347 S.C. 253, 255, 554 S.E.2d
  427, 429 (Ct. App. 2001); Miller v. Miller, 375 S.C. 443, 452, 652
  S.E.2d 754, 759 (Ct. App. 2007) (quoting Townsend v. Townsend, 356 S.C.
  70, 73, 587 S.E.2d 118, 119 (Ct. App. 2003)).
In
  the instant case, the judge granted a new trial when she learned the parties
  mediated agreement was reduced to writing by the mediator but not presented to
  the court at trial by Wifes counsel in Husbands absence.&nbsp; The judge reasoned
  she would have briefly stayed the proceedings to contact Husband to gain his
  consent.&nbsp; Given the judges delayed knowledge of the written mediation
  agreement, it was within the courts discretion to grant a new trial.&nbsp; We find
  no abuse of discretion in this situation.&nbsp; Because the court did not abuse its
  discretion in granting a new trial, we elect not to address Husbands arguments
  to ignore Wifes July 28, 2006, and October 13, 2006, affidavits and his
  alleged lack of notice.
Accordingly,
  we
AFFIRM.
ANDERSON, SHORT
  and THOMAS, JJ., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

